                        IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-151

                                            No. 333A21

                                     Filed 17 December 2021

      IN THE MATTER OF: J.I.T.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 18

     March 2021 by Judge Ellen Shelley in District Court, Rutherford County.                This

     matter was calendared for argument in the Supreme Court on 6 December 2021 but

     was determined on the record and briefs without oral argument pursuant to Rule

     30(f) of the North Carolina Rules of Appellate Procedure.


            W. Martin Jarrad, for petitioner-mother.

            Edward Eldred, for respondent-appellant.



            BERGER, Justice.


¶1          Respondent, the father of J.I.T. (Joe),1 appeals from the trial court’s order

     terminating his parental rights. Respondent’s counsel filed a no-merit brief pursuant

     to Rule 3.1(e) of the North Carolina Rules of Appellate Procedure. After review, we

     conclude the purported issues addressed by counsel in support of the appeal are

     meritless and therefore affirm the trial court’s order.



            1 A pseudonym is used in this opinion to protect the identity of the juvenile and for

     ease of reading.
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                                       Opinion of the Court



¶2         Joe was born on April 22, 2012. Joe’s mother filed a petition to terminate

     respondent’s parental rights on June 1, 2020, alleging as grounds for termination that

     respondent willfully abandoned Joe and willfully failed to pay costs of his care and

     maintenance. A hearing on the petition to terminate parental rights was held on

     March 8, 2021. Respondent failed to appear at the hearing. Respondent’s counsel

     moved to continue the hearing, which the trial court denied.

¶3         Based upon the evidence presented at the hearing, the trial court made the

     following findings of fact:

                  6. The Respondent had sporadic contact with the minor
                  child prior to the ending of the relationship between the
                  Petitioner and the Respondent when the minor child was
                  seven months old. Since that time, the only contact the
                  Respondent had with the minor child consisted of the
                  Respondent attending the minor child’s second birthday
                  and spending approximately and [sic] hour with the minor
                  child and the Petitioner at a park when the minor child was
                  two years old. Since that time, and prior to the filing of the
                  petition in this matter, the Respondent has been in the
                  presence of the minor child in public settings, once even
                  passing by the minor child and the Petitioner on the same
                  aisle at Wal Mart [sic], and during none of these times in a
                  public setting did the Respondent ever make any attempt
                  at communication with the minor child or even
                  acknowledge him. The Respondent has never established a
                  parent-child relationship with the minor child, or any
                  emotional bond.

                  7. At the time of the filing of this action, the Respondent
                  had willfully abandoned the juvenile for at least six
                  consecutive months immediately preceding the filing of
                  this petition.
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                                         2021-NCSC-151

                                       Opinion of the Court



                  8. The Respondent was ordered to pay for the support of
                  the minor child in Rutherford County file number 13 CVD
                  222. For a period of one year or more next preceding the
                  filing of the Petition in this matter, the Respondent has
                  willfully failed without justification to pay for the care,
                  support, and education of the minor child as required by
                  the above-referenced child support order. Specifically, as of
                  the date of this order, the last child support payment made
                  by the Respondent for the support of the minor child was
                  in the amount of $18.29 on March 13, 2019.

                  9. The Respondent father has willfully abandoned the
                  minor child for at least six consecutive months
                  immediately preceding the filing of this action.

                  10. Pursuant to N.C. Gen. Stat. §§ 7B-1111(4), and (7), the
                  foregoing facts support and justify the termination of
                  Respondent’s parental rights.


     The trial court concluded that termination was in Joe’s best interests. Respondent

     appeals.

¶4         Respondent’s appellate counsel states that he has reviewed the record and

     discussed the case with the Office of the Parent Defender. Counsel could not identify

     a meritorious issue for appeal, and he subsequently filed a no-merit brief on

     respondent’s behalf under Rule 3.1(e) of the Rules of Appellate Procedure.

¶5         Counsel for respondent identified three issues that could arguably support an

     appeal here. Counsel states that the trial court’s finding of willful abandonment was

     not supported by the evidence. Counsel acknowledges, however, that the issue lacks

     merit because the independent finding of willful failure to pay child support is
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                                       Opinion of the Court



     evidence which supports a finding justifying termination of parental rights. Second,

     counsel also asserts that another issue on appeal could be that the trial court abused

     its discretion when it denied counsel’s motion to continue. Regarding this issue,

     counsel acknowledges, however, that respondent failed to preserve any argument

     related to lack of notice and the denial of the motion to continue. Finally, counsel

     states that respondent may have an argument related to ineffective assistance of

     counsel, but that, in his opinion, this issue likewise lacks merit. Counsel concedes

     that respondent “cannot show a probability of a different result given [the] testimony

     concerning the status of [respondent]’s child support payments.”

¶6         Counsel has advised respondent and provided him with the documents

     necessary to pursue his appeal. Respondent was appropriately notified of his right

     to file pro se written arguments on his own behalf pursuant to Rule 3.1(e) and he has

     failed to file a brief or any additional documents with this Court.

¶7         This Court conducts an independent review of issues identified by respondent’s

     counsel in a no-merit brief filed under Rule 3.1(e). In re L.E.M., 372 N.C. 396, 402,

     831 S.E.2d 341, 345 (2019). We have carefully reviewed the issues identified by

     counsel in the no-merit brief in light of the entire record. We are satisfied that the

     trial court’s order terminating respondent’s parental rights was supported by clear,

     cogent, and convincing evidence and based upon proper legal grounds. Accordingly,

     we affirm the trial court’s order terminating respondent’s parental rights.
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              2021-NCSC-151

            Opinion of the Court



AFFIRMED.
